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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 09-61175-CIV-ZLOCH

  TIMOTHY W. BENTON,

        Plaintiff,

  vs.                                           DEFAULT FINAL JUDGMENT

  TAKHAR COLLECTION SERVICES LTD.,

        Defendant.
                                      /


        THIS MATTER is before the Court upon Plaintiff Timothy W.

  Benton’s Motion For Default Final Judgment (DE 8).          The Court has

  carefully reviewed said Motion, the entire Court file and is

  otherwise fully advised in the premises.

        Defendant Takhar Collection Services Ltd. was duly served with

  a copy of the Summons and Complaint filed herein on November 23,

  2009.   See DE 3-1.    It has failed to file an appropriate Motion or

  responsive pleading within the time prescribed by law. Default was

  previously entered against it on December 18, 2009. See DE 4.

  Plaintiff Timothy W. Benton now moves for Default Final Judgment.

          The well-pleaded allegations made in Plaintiff’s Complaint

  (DE 1) are deemed to have been admitted by Defendant by virtue of

  its default.    Cotton v. Mass. Mut. Life Ins. Co., 402 F.3d 1267,

  1277-78 (11th Cir. 2005)(citations omitted). Thus, the Court finds

  that Defendant made telephone calls to Plaintiff that were in
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  violation of the Fair Debt Collection Practices Act (“FDCPA”) as

  Defendant failed to inform Plaintiff that its calls were from a

  debt collector,1 in violation of 15 U.S.C. §1692e(11), and it

  failed to make a meaningful disclosure of the nature of its

  business,2 in violation of 15 U.S.C. §1692d(6).                        Additionally,

  Defendant’s      telephone      messages       violated       the   Florida    Consumer

  Collection      Practices    Act   (“FCCPA”),        Fla.      Stat.   §    559.72,     by

  engaging in conduct the natural consequence of which is to harass,3

  in violation of Fla. Stat. § 559.72(7).                   The Court further finds

  that       Defendant   Takhar   Collection       Services       Ltd.   violated        the

  Telephone       Consumer     Protection        Act   (“TCPA”),         47     U.S.C.    §

  227(b)(1)(A)(iii), by placing non-emergency telephone calls to

  Plaintiff’s cellular telephone using an automatic telephone dialing

  system and/or the use of an artificial or pre-recorded voice

  without Plaintiff’s prior express consent.4

         Plaintiff is entitled to statutory damages in the amount of

  $1,000.00 for Defendant’s violation of the Fair Debt Collection

  Practices       Act,   pursuant    to   15     U.S.C.     §    1692k(a)(2)(A),         and



         1
             See DE 1, ¶¶ 13-14.
         2
             See id.
         3
             See id. at ¶¶ 10-11.
         4
             See id. at ¶¶ 15-17.

                                             2
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  $1,000.00   for    Defendant’s    violation     of   the   Florida    Consumer

  Collection Practices Act, pursuant to Fla. Stat. § 559.77(2).              The

  Court also finds that Plaintiff is entitled to $2,500.005 in

  statutory   damages   for   Defendant’s     violation      of   the   Telephone

  Consumer Practice Act, pursuant to 47 U.S.C. § 227(b)(3)(B). Thus,

  Plaintiff is entitled to and shall recover a total of $4,500.00.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED as follows:

        1.    The Court has jurisdiction over the parties hereto and

  the subject matter herein;

        2. Plaintiff Timothy W. Benton’s Motion For Default Final

  Judgment (DE 8) be and the same is hereby GRANTED;

        3. Pursuant to Federal Rules of Civil Procedure 55 and 58,

  Default Final Judgment be and the same is hereby ENTERED in favor

  of   Plaintiff    Timothy   W.   Benton   and   against    Defendant    Takhar

  Collection Services Ltd.;

        4. Plaintiff Timothy W. Benton does have and recover from

  Defendant Takhar Collection Services Ltd. the sum of $4,500.00

  together with interest thereon at a rate of 0.38% per annum, for


        5
         Pursuant to 47 U.S.C. § 227(b)(3)(B), Plaintiff is entitled
  to statutory damages in the amount of $500.00 for each violation.
  There were five distinct violations.      See DE 9.     Therefore,
  Plaintiff is entitled to recover a total of $2,500.00 in statutory
  damages on his TCCPA claim.

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  all of which let execution issue;

        5.   Defendant   is   permanently   enjoined    from   placing   non-

  emergency telephone calls to Plaintiff’s cellular telephone using

  an automatic telephone dialing system or pre-recorded or artificial

  voice without Plaintiff’s prior express consent;

        6. The Court shall retain jurisdiction solely for the purpose

  of entertaining a Motion For Attorney’s Fees that comports with the

  dictates of Local Rule 7.3.A; and

        7. To the extent not otherwise disposed of herein, all pending

  Motions are hereby DENIED as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this       24th      day of May, 2010.




                                     WILLIAM J. ZLOCH
                                     United States District Judge


  Copies furnished:

  All Counsel of Record

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